                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

TREVOR SLOAN, JOSEPH BLEIBERG,
ARYEH LOUIS ROTHBERGER, KEVIN
FARR, ELMER ORPILLA, and SAGAR
DESAI, on behalf of themselves and   Case No.: 1:22-cv-07174
all others similarly situated,
                                     Honorable Sara L. Ellis
          Plaintiffs,

          v.

ANKER INNOVATIONS LIMITED,
FANTASIA TRADING LLC, and POWER
MOBILE LIFE LLC,

          Defendants.


 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
             MOTION FOR JUDGMENT ON THE PLEADINGS
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                                     I.    INTRODUCTION

       Defendants Anker Innovations Limited, Fantasia Trading LLC, and Power Mobile Life

LLC’s (collectively “Defendants”) Motion for Judgment on the Pleadings is an attempt at a second

bite at the apple. The Court, in response to the Motion to Dismiss, has already addressed

Defendants’ extraterritorial arguments, holding that the Illinois Biometric Information Privacy Act

(“BIPA”) applies to the Illinois Plaintiffs because “the [Eufy Branded Home Security Cameras 1]

provide home security; therefore, the bulk of the circumstances at issue for each individual Plaintiff

would occur in his own home.” Sloan v. Anker Innovations Ltd., 711 F. Supp. 3d 946, 959 (N.D.

Ill. 2024) (“To avoid the extraterritoriality doctrine, ‘the circumstances that relate to the disputed

transaction [must have] occur[red] primarily and substantially in Illinois,’ with ‘each case ...

decided on its own facts.’”) (citing Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 853–

54 (Ill. 2005)). 2 Despite this clear ruling, Defendants re-raise the issue under the guise of a Motion

for Judgment on the Pleadings.

       In order to justify the Court’s reexamination of its prior decision, Defendants assert that

three new cases—Campana v. Nuance Commc’ns, Inc., No. 21 CV 1241, 2024 WL 2809838 (N.D.

Ill. Mar. 8, 2024), McGoveran v. Amazon Web Servs., Inc., No. 1:20-CV-01399-SB, 2024 WL

4626253 (D. Del. Oct. 30, 2024), and Vance v. Google LLC, No. 20-CV-04696- BLF, 2024 WL

1141007, at *4 (N.D. Cal. Mar. 15, 2024) (“Vance I”)—render the Court’s previous analysis

erroneous. More specifically, Defendants claim that these cases stand for the proposition that BIPA

requires that the “collecting and storing [of] the biometric information . . . occurred in Illinois” and

that collecting the “raw precursor information—such as a voice recording, photograph, or video—


   1
     “Camera Products” collectively refers to eufycam, Video Smart Lock, SoloCam, Floodlight
Cam, Video Doorbell, and Solo Indoorcam lines of home security cameras.
   2
     The Court dismissed all BIPA claims, except those of Plaintiffs Sloan and Orpilla (the Illinois
based Plaintiffs). Thus, only Plaintiffs Sloan and Orpilla’s claims are at issue in the present Motion.

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from which biometrics are later created” is not sufficient in-state conduct. Motion, p. 1.

       Defendants’ argument is fatally flawed for multiple reasons. First, Defendants’ cases do

not mark any change in the law. See Motion, p. 6 n.3. These cases do not address, much less

displace, the well-established case law holding that collecting photographs from devices in Illinois,

for the purposes of conducting facial recognition elsewhere, is sufficient to raise a claim under

BIPA, so long as there is some allegation of defendants operating in the state. See, e.g., Vance v.

Microsoft Corp., 525 F. Supp. 3d 1287, 1293 (W.D. Wash. 2021) (“Vance II”) (allowing BIPA

claims for facial scans that occurred on photos that were uploaded in Illinois, given that Microsoft

conducts business in the state: “While Microsoft is correct that Plaintiffs do not allege where

Microsoft obtained the dataset [citation], that fact alone may not be dispositive.”), Vance v. Int’l

Bus. Machines Corp., No. 20 C 577, 2020 WL 5530134, at *3 (N.D. Ill. Sept. 15, 2020) (“Vance

III”) (noting that questions regarding extraterritorial application of BIPA to photographs collected

from Illinois residents is a fact-intensive analysis that cannot be resolved on the pleadings), and

Vance v. Google LLC, No. 20-CV-04696-BLF, 2024 WL 5011611, at *3–4 (N.D. Cal. Dec. 5,

2024) (“Vance IV”) (allowing BIPA claims for facial scans on photos that were uploaded in

Illinois, by Illinois residents, given that defendant had engineering staff within the state).

       Second, these cases recognize that “[t]here is no ‘bright-line test for determining whether

a transaction occurs within this state ... each case must be decided on its own facts.’” Campana,

2024 WL 2809838 at *2 (holding that allegations that harm occurred by dealing with parties in

Illinois, executing contracts in Illinois, and a disputed contract containing Illinois choice of law

clause were sufficient to establish Illinois connections beyond mere residence); see also Sloan,

supra. Defendants’ attempts to synthesize a hard rule from these decisions is misplaced.

       Third, Defendants’ Motion ignores the clear nexus of in-state conduct alleged in the




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Complaint, 3 including that Defendants (i) illegally obtained, stored, and disclosed biometric

information through the Camera Products purchased by Plaintiff Sloan and Plaintiff Orpilla, which

were located at their homes in Illinois and thus captured video, photographs, and biometric

information in Illinois (¶¶ 11, 17), (ii) sell and market the Camera Products within Illinois (¶ 27),

(iii) provided software that Plaintiffs accessed and used within Illinois (¶ 29), and (iv) had contracts

with the Plaintiffs (which were entered into in Illinois) that contain an Illinois choice of law clause

(¶ 30). Indeed, it strains credulity to assert that the injury to Plaintiffs Sloan and Orpilla occurred

anywhere but Illinois. These substantial connections to Illinois distinguish this case from the

“new” case law cited by Defendants.

                               II.    FACTUAL BACKGROUND

        Anker markets, distributes, and sells its “eufy” branded security products, including the

Camera Products, throughout the United States, including Illinois. ¶ 27. “These Camera Products

are specifically marketed for home security, allowing consumers to view live and recorded video of

the areas around their homes and to automatically receive notifications on their cell phone, tablet,

or computer regarding activity detected by the cameras, including thumbnail images when a person

is detected in the cameras’ field of view or when a person presses the doorbell.” ¶ 27 (emphasis

added). “The Camera Products also have the BionicMind system, marketed as a ‘local artificial

intelligence used for facial recognition.’” ¶ 28. “The BionicMind system enables eufy cameras to

differentiate between known individuals and strangers by recognizing biometric identifiers (i.e.,

details about the face’s geometry as determined by facial points and contours) and comparing the

resulting ‘face template’ (or ‘faceprint’) against the face templates stored in a database.” ¶ 28. Either

as doorbells or stand-alone security cameras, the Camera Products are often physically affixed to,


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     References to the “Complaint” are to Plaintiffs’ Consolidated Class Action Complaint. ECF
No. 31. Citations to “¶ __” or “¶¶ __” are to paragraphs of the Complaint.

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or are within, countless houses in Illinois. Accordingly, the Camera Products are intricately linked

to Plaintiffs Sloan and Orpilla’s Illinois homes and capture information from their residences.

        To receive notifications or view their camera feeds, consumers must use the eufy Security

smartphone application (the “eufy Security App”). ¶ 29. “The End User License Agreement

(“EULA”) for the eufy Security App and the Camera Products provides that “you agree that this

EULA, and any claim, dispute, action, cause of action, issue, or request for relief relating to this

EULA, will be governed by the laws of Illinois, without giving effect to any conflicts of laws

principles that require the application of the laws of a different jurisdiction.” ¶ 30 (emphasis added).

        Facial recognition presents substantial consumer privacy concerns since, among other

things, an individual’s face can be used to open an app, program or cellular phone, and, unlike a

password, a face template cannot be changed. ¶ 40. Knowing that privacy and security were

essential to consumers, Plaintiffs allege that Anker designed and conducted a long-term marketing

campaign touting the supposed privacy and security features of the Camera Products. ¶ 31.

        For example, each Camera Product label stated that “we’re taking every step imaginable

to ensure that your data remains private, with you,” “your recorded footage will be kept private,”

data is “transmitted to you, and only you.” ¶ 32. The label further warranted that “[a]ll your footage

is securely stored locally[,] [e]nsuring the videos you record are for you and only you.” Id.

Defendants’ website also included a “privacy policy” that did not disclose that Camera Products

collected or stored facial recognition information. ¶ 34. In addition, in the Google and Apple App

stores, Defendants represented that “[n]o data [is] shared with third parties.” ¶ 36.

        These representations, however, were false. On November 23, 2022, security researcher

Paul Moore posted a string of tweets demonstrating that the Camera Products were uploading name-

tagged thumbnail images, i.e. biometric information, to Anker’s Amazon Web Services (“AWS”)

hosted cloud storage without encryption. ¶¶ 42–43. More specifically, Plaintiffs alleged that:

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       On November 23, 2022, Moore uploaded a video that demonstrated his findings.
       With his eufy Homebase unplugged, Moore walked in front of his camera. From an
       incognito web browser, Moore could pull up a thumbnail image of himself, an
       image of the feed shortly before he was visible, and—perhaps more concerning—
       ID numbers indicating his recognized face and his status as the camera owner.[fn]
       In other words, the Camera Products paired consumers’ facial scans with other
       personally identifiable information from the consumer, which made Defendants
       capable of determining consumers’ identities. This further suggests that all this
       information had been uploaded to a web server.

¶ 43. Plaintiffs further alleged that “the Camera Products were uploading name-tagged thumbnail

images to Anker’s AWS-hosted cloud storage.” ¶ 42 (emphasis added). Put differently, Defendants

were collecting data from Camera Products, when they should have had no access to such data.

       Thus, Plaintiffs allege a violation of BIPA:

       Prior to collecting and using Plaintiffs’ biometric identifiers, Anker required that
       each user provide their email address through the eufy Security App. This
       information enables Defendants to associate the collected biometric identifiers with
       Plaintiffs’ identities, as evidenced in part by the unique ID numbers and name-
       tagged thumbnail images uploaded to Anker’s AWS-hosted cloud storage...

¶ 124. While Defendants attempt to make it seem as if AWS was “an out-of-state third-party

vendor,” completely unrelated to Defendants’ activities, this is not true. Motion, p. 2. AWS offers

cloud-based computers for others to rent. In this case, Plaintiffs alleged that Defendants rented

their AWS servers to store the biometric data that they collected from Plaintiffs’ home security

cameras. However, it was the hardware and software on these cameras that created biometric data.

     III.   STANDARD ON MOTION FOR JUDGMENT ON THE PLEADINGS

       Rule 12(c) permits a party to move for judgment after the complaint and answer have been

filed by the parties. See Fed. R. Civ. P. 12(c). Courts review Rule 12(c) motions by employing the

same standard that the Court applies when reviewing a motion to dismiss under Rule 12(b)(6).

Pisciotta v. Old Nat. Bancorp, 499 F.3d 629, 633 (7th Cir. 2007). Thus, the Court “accept[s] all

well-pleaded facts as true and draw[s] all reasonable inferences in the plaintiff’s favor.” White v.

United Airlines, Inc., 987 F.3d 616, 620 (7th Cir. 2021). “Like Rule 12(b) motions, courts grant a


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Rule 12(c) motion only if ‘it appears beyond doubt that the plaintiff cannot prove any facts that

would support his claim for relief.’” N. Indiana Gun & Outdoor Shows, Inc. v. City of S. Bend,

163 F.3d 449, 452 (7th Cir. 1998) (citation omitted).

                                       IV.     ARGUMENT

A.      Defendants’ Request for Judicial Notice Should not be Granted

        As a threshold matter, Defendants request that the Court take judicial notice of AWS’s

website (Global Infrastructure, Regions and Availability Zones, https://aws.amazon.com/about-

aws/global-infrastructure/regions_az/). Motion, p. 4. First, it is difficult for Plaintiffs to assess this

request as Defendants did not provide a copy of the website, as it appeared on the date accessed,

with its Motion. Felty v. Driver Sols., LLC, No. 13 C 2818, 2013 WL 5835712, at *3 (N.D. Ill.

Oct. 30, 2013) (“Due to the evolving nature of websites, this Court is neither required nor inclined

to take judicial notice of any website material at this time.”). Nonetheless, judicial notice “merits

the traditional caution it is given, and courts should strictly adhere to the criteria established by the

Federal Rules of Evidence before taking judicial notice of pertinent facts.” Gen. Elec. Capital

Corp., v. Lease Resolution Corp., 128 F.3d 1074, 1081 (7th Cir. 1997). Accordingly, courts do not

take notice of the truth of matters asserted on websites, due to the “varying levels of reliability” of

information found on the internet. Mussat v. Power Liens, LLC, No. 13-CV-7853, 2014 WL

3610991, at *3 (N.D. Ill. July 21, 2014) (“this Court declines to take judicial notice of Power

Liens’ website in order to show the existence of a business relationship.”). Here, AWS’s website,

“without more, is not sufficiently reliable for this Court to take judicial notice of its contents” as

evidence of the location of its servers. Id.

        However, even if the Court was to take judicial notice of this website, it does not support

Defendants’ claim that no AWS infrastructure is located within Illinois. Motion p. 4. To the

contrary, the website specifically provides that AWS maintains edge locations in Chicago. See


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AWS, Global Infrastructure, Regions and Availability Zones, https://aws.amazon.com/about-

aws/globalinfrastructure/regions_az/ (last visited March 24, 2025). In addition, the website does

not address the fundamental factual questions at issue, including when, where, and how biometric

information is uploaded to AWS, and the extent of Defendants’ control over these servers. The

location of AWS only raises a question of fact that is not, on its own, determinative of the dispute.

B.     Plaintiffs’ BIPA Claims Are Adequately Plead

       As Defendants concede, the trio of “recent” cases they cited—Campana, McGoveran, and

Vance I—do not represent any new interpretation of the underlying law. See Motion at p. 6 n.3.

Instead, the geographic reach of BIPA is a case-specific exercise that looks at the underlying

relationship between the alleged illegal data collection and Illinois. Vance II, 525 F. Supp. 3d at

1292. “There is no single formula or bright-line test for determining whether a transaction occurs

within [Illinois].” Id. Thus, such “a fact intensive inquiry [is] best left for summary judgment.”

Campana, 2024 WL 2809838 at *2 (citing Mahmood v. Berbix, Inc., No. 22 C 2456, 2022 WL

3684636 at *2 (N.D. Ill. Aug. 25, 2022)).

       Here, to establish where a BIPA violation occurred, the Court can look to a number of

factors, including “plaintiff’s residency, the location of harm, where communications between

parties occurred, and where a company is carrying out the aggrieved policy.” See Vance II, supra.

In addition, where the “information was accessed” is also relevant. Id. Importantly, where

biometric information is stored is not necessarily relevant to the Court’s analysis. This is because

BIPA “doesn’t penalize mere possession of biometric information.” See King v. PeopleNet Corp.,

No. 21 CV 2774, 2021 WL 5006692, at *8 (N.D. Ill. Oct. 28, 2021). Nor is it dispositive where

biometric information is processed (for reasons stated below). Instead, the relevant section of BIPA

prohibits the “collection” and “capture” of biometric identifiers or biometric information within

Illinois. 740 ILSC 14/15(b) (“No private entity may collect, capture, purchase, receive through


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trade, or otherwise obtain a person’s or a customer’s biometric identifier or biometric

information”); see also, Heard v. Becton, Dickinson & Co., 440 F. Supp. 3d 960, 965–66 (N.D.

Ill. 2020) (“Heard I”) (“Unlike Sections 15(a), (c), (d), and (e) of the BIPA—all of which apply to

entities ‘in possession of’ biometric data—Section 15(b) applies to entities that ‘collect, capture,

purchase, receive through trade, or otherwise obtain’ biometric data. Recognizing this distinction,

the parties agree that mere possession of biometric data is insufficient to trigger Section 15(b)’s

requirements.” (citations omitted)). Defendants’ myopic focus on where biometric information

was processed or stored is irrelevant to the underlying claim. Instead, the relevant question is

where Defendants illegally “collect,” “capture” or “otherwise obtain” access to Plaintiffs’

biometric information. Id.

        Defendants strain logic and the law by claiming that they did not “collect” any biometric

information within Illinois because “AWS servers were [not] in Illinois or that Defendants

otherwise accessed their biometrics in Illinois in any other way.” Motion, p. 7-8. As noted above,

Plaintiffs allege that Defendants represented that the “Camera Products also have the BionicMind

system, marketed as a ‘local artificial intelligence used for facial recognition.’” ¶ 28. Plaintiffs

further allege that Defendants represented that all data from the Camera Products is “transmitted

to you, and only you” and that “[a]ll your footage is securely stored locally[,] [e]nsuring the videos

you record are for you and only you.” ¶ 32. Accordingly, whether the biometric data is taken from

Defendants’ AWS server or the Camera Products themselves, the result is the same: Defendants

illegally “collect[ed],” “captur[ed]” or “otherwise obtain[ed]” biometric data in violation of BIPA

in Illinois. 740 ILSC 14/15(b). This is because such data should have never left Plaintiff Sloan’s

and Plaintiff Orpilla’s Illinois-based Camera Products in the first place. 4 That Defendants obtained


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       Plaintiffs concede that there are some questions regarding how exactly the BionicMind


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biometric information (or that it was transmitted to Defendants’ servers) is evidence enough that

it was illegally obtained. Figueroa v. Kronos Inc., 454 F. Supp. 3d 772, 783–84 (N.D. Ill. 2020)

(allegations that the defendant stored data sufficed for § 15(b) liability because in order to store

data, the defendant “necessarily first had to ‘obtain’ the data”).

       In addition, the collection of biometric information occurred in this state. While Defendants

assert that “Plaintiffs’ presence in Illinois is not sufficient for the Court to make a reasonable

inference that Defendants’ alleged conduct occurred primarily and substantially in Illinois,” this is

not what was alleged. Motion, at pp. 8-9. Defendants correctly note that the Court already held

that Defendants allegedly accessed Plaintiffs’ data without their consent, and this data collection

occurred “at their residence, where they had installed the cameras.” Motion, p. 8 n.4, ECF No. 66

at 12–13. And there is no reason to displace this finding. The Complaint alleged that Plaintiffs

Sloan and Orpilla are Illinois citizens who reside in Illinois. ¶¶ 11, 17. The “collection” of

biometric information occurred from Camera Products located in their Illinois homes. Id.

       Further, any injury to Plaintiffs Sloan and Orpilla’s privacy (i.e. the purported illegal

collection of biometric information without their consent from their home security cameras),

occurred within Illinois. This is sufficient to allege a violation of BIPA. Vance II, 525 F.Supp.3d

1293 (allowing BIPA claims for facial scans of photos that were taken in Illinois, uploaded in

Illinois by Illinois residents, and performed by defendant that conducts business in Illinois); Vance

III, 2020 WL 5530134, at *1–3 (allegations that plaintiff uploaded photographs to the photo

sharing service Flickr from a computer in Illinois, which were than used for facial recognition

software by a third party, were sufficient to allow the case to continue to discovery). Finally,



system works. Nevertheless, such factual questions are not a reason to dismiss a case at the
pleading phase. Vance II, 525 F.Supp.3d at 1292 (“the majority of courts in BIPA cases to consider
the issue at this stage have denied the motion to dismiss, opting instead to allow discovery for
more information regarding the extent to which the alleged misconduct occurred in Illinois.”).

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Defendants specifically market and directly sell their Camera Products and eufy Security App

within Illinois. ¶¶ 19-22. Defendants’ conduct within the State is sufficient to satisfy BIPA.

       Defendants waste much ink on where the facial recognition data was actually created. See

Motion, p. 8 (“the biometrics themselves never existed in this state, but were created only

elsewhere (on the out-of-state AWS servers)”) & n.4 (“in Plaintiffs’ own words, facial recognition

was not happening ‘at their residence.’”). This is irrelevant for two reasons: First, the Complaint

specifically alleges that “Anker collected and captured facial recognition information from

Plaintiffs and Class members, as well as their friends and family that appear on their cameras” and

“[t]his information was then uploaded to Anker’s servers, and stored there, without notice, prior

consent, or providing a publicly available policy establishing a retention schedule and guidelines

for permanently destroying this Biometric Data.” ¶ 53. The Court has already held that these

allegations are sufficient to allege a BIPA violation. Sloan v, 711 F. Supp. 3d at 958 (“Considering

the allegations that the eufy products used the BionicMind programs to construct faceprints and

Defendants stored facial recognition data on the cloud together, Plaintiffs have described a scheme

that ‘plausibly constitutes scans of face geometry.’”). At this stage of the litigation, the Court must

accept these allegations as true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Second, BIPA does not turn on whether facial recognition data has first been

conducted/processed before the corresponding data was transmitted to Defendants. Instead, the

statute prohibits the collection, capture, purchase, receipt through trade, or otherwise obtaining

both “customer’s biometric identifier or biometric information” without consent. Under BIPA,

“biometric information” is defined as “any information, regardless of how it is captured,

converted, stored, or shared, based on an individual’s biometric identifier used to identify an

individual.” 740 ILCS 14/10 (emphasis added). And “biometric identifiers” includes face

geometry scans. Id. Thus, “[w]hile photographs alone do not support a BIPA action, photographs

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used by a system that can take a geometric scan of a person do qualify as biometric data.” Sloan,

711 F. Supp. 3d at 958 (citing Sosa v. Onfido, Inc., 600 F. Supp. 3d 859, 871 (N.D. Ill. 2022) (“But

nothing in section 10 expressly excludes information derived from photographs from the definition

of biometric identifiers.”). Even if Defendants only scanned a person’s face from a photo that they

collected from the Illinois-based Camera Products, the result would be the same as if Defendants

collected the facial scan from the electronic storage on the Camera Products themselves. See, e.g.,

Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1091, 1095–97 (N.D. Ill. 2017) (Plaintiffs who were

the subject of photographs taken by smartphones, and whose photographic images were

automatically uploaded, without their consent, to a cloud-based service that scanned facial features

to create face templates, sufficiently alleged a violation of BIPA); In re Facebook Biometric Info.

Priv. Litig., 185 F. Supp. 3d 1155, 1171 (N.D. Cal. 2016) (Users’ allegations that social networking

website scanned their uploaded photographs and used their faces as biometric identifiers, without

their consent, in tool that automatically matched names to faces on pictures uploaded to the site,

were sufficient to state a claim under BIPA); ACLU v. Clearview AI, Inc., No. 20 CH 4353, 2021

WL 4164452, at *1, *5 (Ill. Cir. Ct. Aug. 27, 2021) (creating a faceprint by scanning publicly-

available internet photos, measuring and recording data such as the shape of the cheekbones and

the distance between eyes, nose, and ears constituted a scan of face geometry in violation of BIPA).

       Indeed, when determining the extraterritorial effect of a statute, the Illinois Supreme Court

cautions that it makes “little sense” to focus on one out-of-state element of a transaction, when the

“bulk of the circumstances that make up a [ ] transaction occur within Illinois.” Avery, 835 N.E.2d

at 853. Here, the vast majority of the relevant facts, including “plaintiff’s residency,” “the location

of harm,” “where communications between parties occurred,” and “information was accessed” all

point squarely at Illinois. Vance II, 525 F. Supp. 3d at 1292. The fact that some data may have

been processed or stored out-of-state is not dispositive. Patel v. Facebook, Inc., 932 F.3d 1264,

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1276 (9th Cir. 2019) (“[I]t is reasonable to infer that the General Assembly contemplated BIPA’s

application to individuals who are located in Illinois, even if some relevant activities occur outside

the state.”). This is particularly true here, where Defendants elected to have “any claim, dispute,

action, cause of action, issue, or request for relief relating to the EULA [ ] governed by the laws

of Illinois.” ¶ 26. There is no reason to displace the application of BIPA under such circumstances.

LaSalle Bank Nat’l Assoc v. Paramont Properties, 588 F. Supp. 2d 840, 849 (N.D. Ill. 2008)

(“Illinois courts honor a contractual choice of law clause provided that (1) it does not contravene

a fundamental policy of Illinois, and (2) the state chosen bears a reasonable relationship to the

parties or the transaction.”); M. Block & Sons, Inc. v. IBM Corp., No. 04 C 340, 2004 WL 1557631,

at *4 (N.D. Ill. July 8, 2004) (“The clause states that the laws of New York will govern any ‘rights,

duties and obligations arising from, or relating in any manner to, the subject matter of this

Agreement.’ This provision indicates that the parties intended New York law to apply broadly to

matters related to or arising out of the contractual obligations.”).

C.     Defendants’ Case Law Does Not Support Their Request

       Defendants’ citations to Campana, McGoveran, and Vance I do not call for entry of

judgment here. While Defendants state that these three cases stand for the proposition that “a

plaintiff’s residence in Illinois [is not] enough to show that a BIPA violation occurred ‘primarily

and substantially in Illinois,’” Plaintiffs do not stand on mere residency. Motion, pp. 5-6. Again,

Plaintiffs Sloan and Orpilla are Illinois residents, who alleged that photographs and facial

recognition data were taken from their Illinois-based Camera Products, without permission. These

products were specifically marketed by Defendants within the State, and Plaintiffs Sloan and

Orpilla purchased the Camera Products in Illinois. And Plaintiffs Sloan and Orpilla bolster their

argument by noting the EULA specifically provided the present claims would be governed by the

laws of Illinois. Plaintiffs Sloan and Orpilla alleged a substantial nexus between their BIPA claims


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and the state of Illinois beyond mere Illinois residency.

       To illustrate, in Campana, plaintiff alleged that she called the FedEx customer service

hotline to inquire about a package and interacted with a “Voice ID” authentication system, in

violation of BIPA. Campana, 2024 WL 2809838 at *1. The Campana plaintiff did not allege any

other connections to Illinois other than her residency at the time of the call. Id., at *2. Under such

circumstances, Campana found that such facts were not sufficient to invoke Illinois law. Id. But,

the Campana Court specifically differentiated the facts before it with a case where a “plaintiff

alleged that she scanned her fingerprints in Illinois using the defendant’s hardware and the

hardware stored her fingerprints in Illinois.” Id., at *3 (citing Ronquillo v. Doctor’s Assocs., LLC,

597 F. Supp. 3d 1227, 1234 (N.D. Ill. 2022)). Moreover, Campana also noted cases which held

that the presence of an Illinois choice of law clause combined with a transaction that occurred in

Illinois was sufficient to allege instate conduct. Id., at *2 (citing Morrison v. YTB Int’l, Inc., 649

F.3d 533, 538 (7th Cir. 2011)). The facts of this case are much closer to the facts of the cases

distinguished by Campana than the facts of Campana itself.

       Similarly, in McGoveran, plaintiff alleged that defendants extracted biometric information

from calls originating from Illinois with clearly recognizable Illinois phone numbers. McGoveran,

2021 WL 4502089, at *4. However, the defendants (who plaintiffs called) were all out-of-state

entities and all of the relevant voice capture and analysis occurred out-of-state. Id. Thus, the

McGoveran Court found that “Plaintiffs’ concrete allegations about this case’s connections to

Illinois are nothing more than repeated statements (phrased three different ways) about Plaintiffs’

residency.” Id. The McGoveran Court had concerns that extending liability in such situations

would harm “a vast number of corporations who do no business in Illinois and who lack any other

significant connection to Illinois.” Id., *6. The same concerns are not at issue here. Again,

Defendants’ Camera Products took the active step of transmitting data created by the Camera

                                                 13
Products, within the State of Illinois, without permission. Defendants also sold their Products

within Illinois and understood that their actions could subject them to Illinois law, because that is

what the EULA provided. This is a far cry from imposing liability under BIPA because an Illinois-

based consumer called an out-of-state business which had no connections to Illinois.

        The facts of Vance I are even more far removed from this case. In Vance I, plaintiffs alleged

that they uploaded their photographs to a website hosted by Flickr from their Illinois-based

devices. Vance I, 2024 WL 1141007 at *1. Flickr then compiled millions of Flickr photographs,

including plaintiffs’ photographs, into the “Flickr Dataset” and made the dataset publicly available.

Id. IBM then used images culled from the Flickr Dataset to create the Diversity in Faces Dataset

(“DiF Dataset”) for improving the ability of facial recognition systems to fairly and accurately

identify individuals across diverse populations. Id. This data included “biometric identifiers of

Plaintiffs taken from the Flickr Dataset, by scanning the facial geometry of facial images.” Id.

Defendant Google obtained the DiF Dataset to improve its own facial recognition technology. Id.

the Vance I plaintiffs did not allege that “Google ever interacted with them or any other person or

entity in Illinois to obtain the DiF Dataset.” Id., at *3.

        Vance I is not analogous to the case at bar. Here, Plaintiffs allege that the Illinois based

Camera Products were programmed, by Defendants, to send biometric information to Defendants,

that these Camera Products were accessed in Plaintiffs’ Illinois homes, and Defendants sold and

marketed the Camera Products in Illinois. ¶¶ 19, 25, 42. While Defendants try to force this case

into the Vance I mold, their efforts are futile. The involvement of AWS in this case is not remotely

similar to the intervening actions of Flickr and IBM in Vance I. Plaintiffs allege that “the Camera

Products were uploading name-tagged thumbnail images to Anker’s AWS-hosted cloud storage”

and Defendants “collected biometric identifiers with Plaintiffs’ identities, as evidenced in part by

the unique ID numbers and name-tagged thumbnail images uploaded to Anker’s AWS-hosted

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cloud storage.” ¶¶ 42, 124; see also ¶ 55 (“Defendants eventually admitted that they were already

aware that their eufy cameras transmitted images and biometric information to their AWS-hosted

cloud storage.”). Accordingly, Plaintiffs specifically alleged that it was Defendants that hosted and

stored the biometric information on their AWS servers. There are no allegations that AWS did

anything but provide cloud storage for Defendants. Nonetheless, the nature of AWS’s relationship

with Defendants is not something that should be decided at this stage of the case. See Heard v.

Becton, Dickinson & Co., 524 F. Supp. 3d 831, 841 (N.D. Ill. 2021) (“Heard II”) (Plaintiff

sufficiently that the defendant’s device scans the user’s fingerprint and then stores users’ biometric

information both on the device and in defendant’s servers and questions regarding what entities’

servers actually stored store users’ biometric information were to be resolved later in the case).

       It is also worth noting that the Northern District of California ultimately allowed the

allegations in Vance I to move forward. In Vance IV, the court found that plaintiffs alleged

sufficient connections with Illinois by stating that Google used the DiF Dataset on products

partially engineered in Illinois and that the “DiF Dataset obtained by Defendant included

photographs of Plaintiffs, who were Illinois residents, and significant information about those

photographs.” See Vance IV, supra, at *3. This brings the Northern District of California in line

with courts in this District which found BIPA applied under similar facts. See, e.g., Vance III, 2020

WL 5530134, at *1–3 (allegations that plaintiff uploaded photographs to the photo sharing service

Flickr, from a computer in Illinois, which were then used for facial recognition software by a third

party, were sufficient to allow the case to continue to discovery). Vance I does not control, has

been supplanted by Vance IV, and is inapposite.

                                     V.     CONCLUSION

       As set forth above, the Court should deny Defendants’ Motion in its entirety.




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Dated: April 4, 2025    Respectfully submitted,

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 Classes




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of April, 2025, I caused a true and correct copy of the

foregoing notice to be filed with the Clerk of the Court for the Northern District of Illinois via the

Court’s CM/ECF system, which will send notification of such filing to the counsel of record in the

above-captioned matters.



                                               /s/ Trenton R. Kashima
                                               Trent R. Kashima
